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UNITED sTATEs olsTRiCT CoURT
WESTERN DISTRICT oF TENNESSEE 55 JUL -
Western Division

   

UNITED STATES OF AMERICA C"E_§[§i ,,
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-vs- Case No. 2:05cr20249-1- b

 

JUAN DELABRA

 

ORDER OF DETENT|ON PENDING TRIAL
F|ND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DIRECTIONS REGARDFNG DETENT|ON

Date: July 6, 2005 <§ 77th @
S. THOMAS ANDERSON

UNITED STATES MAGISTRATE JUDGE

 

UNITED STASTE DTRCTISI COURT - WESERNT DISITRCT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
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Honorable J. Breen
US DISTRICT COURT

